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                 UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF TEXAS
                     FORT WORTH DIVISION

  DELISA M. HARRIS,

       Plaintiff,

  v.                                                No. 4:23-cv-00512-P

  EASTERN ACCOUNT SYSTEM, INC.,

       Defendant.
                                  ORDER
       Before the Court is Plaintiff’s Motion for Default Judgment. ECF No.
  11. Before a final determination can be reached, the Court needs more
  information regarding Plaintiff’s damages, as evidenced by a record of
  Defendant’s conduct and/or records reflecting the number of harassing
  calls Plaintiff received. Currently, Plaintiff only says that “dozens” of
  calls were made, leaving the Court with insufficient information to
  calculate appropriate damages. The Court is disinclined to schedule an
  independent hearing on the matter but invites further briefing to aid its
  computation. Accordingly, Plaintiff is ORDERED to submit
  supplemental briefing with an attached appendix of all relevant
  evidence reflecting Defendant’s allegedly illicit conduct. Plaintiff shall
  file such supplemental briefing on or before November 8, 2023.
  Further, insofar as Plaintiff seeks attorneys’ fees in conjunction with her
  Motion for Default Judgment, her counsel of record shall also affix to the
  supplemental briefing sufficient evidence of the hours incurred in
  preparing such briefing or otherwise complying with this Order.

       SO ORDERED on this 2nd day of November 2023.
